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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHO
                                        EASTERN DIVISION


  UNITED STATES OF AMERICA,                           )        Case No. 1:12CR449-14
                                                      )
                   Plaintiff,                         )        Judge Lesley Wells
                                                      )
          vs.                                         )        REPORT AND RECOMMENDATION
                                                      )        OF MAGISTRATE JUDGE
  RAYMOND JACKSON                                     )
                                                      )
                   Defendant.                         )        Magistrate Judge Kenneth S. McHargh
                                                      )


          Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

  Judge Kenneth S. McHargh for purposes for receiving, on consent of the parties, the defendant’s offer

  of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

  of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

  submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

  accepted and a finding of guilty entered, the following, along with the transcript or other record of the

  proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

  concerning the plea of guilty proffered by the defendant.

          1.       On November 18, 2013, the defendant, accompanied by counsel, proffered a plea of

                   guilty to count (s) 1 of the Indictment.

          2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                   charge and consequences of conviction, informed that the Federal Sentencing

                   Guidelines are advisory and the Court must consider them but the Court may impose

                   any sentence authorized by law, notified of his rights, advised that he was waiving all

                   his rights except the right to counsel, and, if such were the case, his right to appeal, and

                   otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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                                                     2

          3.      The parties and counsel informed the court about any plea agreement between the

                  parties, the undersigned was advised that, aside from such agreement as described or

                  submitted to the court, no other commitments or promises have been made by any

                  party, and no other agreements, written or unwritten, have been made between the

                  parties.

          4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

                  and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                  offered knowingly, intelligently, and voluntarily.

          5.      The parties provided the undersigned with sufficient information about the charged

                  offense(s) and the defendant’s conduct to establish a factual basis for the plea.

          In light of the foregoing and the record submitted herewith, the undersigned finds that the

  defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

  United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

  recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                          s/Kenneth S. McHargh
                                                    Kenneth S. McHargh
                                                    United States Magistrate Judge

  Date: November 18, 2013



          ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

  within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time

  WAIVES the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters,

  638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
